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 Attorneys for Defendant Estes Express Lines




                               UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      MEDFORD DIVISION


JARED BURGER, an individual,
                                                                            Case No. 1:22-cv-00217
                 Plaintiff,
                                                      NOTICE OF REMOVAL
        v.
                                                      Klamath County Circuit Court
ESTES EXPRESS LINES, a foreign business               Case No. 21CV47717
corporation; John Doe I, an individual,
                                                      DEMAND FOR JURY TRIAL
                 Defendants.


TO:              The Judges of the United States District Court for the District of Oregon;
AND TO:          Clerk of the Court, Klamath County Circuit Court of the State of Oregon;
AND TO:          Plaintiff Jared Burger and his attorney of record, Dipendra Rana:

        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§1441 and 1446, Defendant

Estes Express Lines hereby removes to this Court the case now pending in the Circuit Court of

the State of Oregon for the County of Klamath, Case No. 21CV47717 and entitled Jared



 Page 1 of 3 -     NOTICE OF REMOVAL                                 Williams Kastner
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Burger v. Estes Express Lines, et al.. A copy of the Amended Complaint is attached hereto as

Exhibit A and made part of this Notice.

         As grounds for removal, Defendant Estes Express Lines states as follows:

A.       Notice of removal is timely

         1.      On December 16, 2021, plaintiff Jared Burger filed this action which is now

pending in Klamath County Circuit Court as Jared Burger v. Estes Express Lines., Case No.

21CV47717. Estes Express Lines was served with the Summons and Complaint on January 24,

2022.

         2.      This Notice of Removal is timely filed under 28 U.S.C. §1446(b), which

provides that a notice of removal must be filed within 30 days after a defendant receives, by

service or otherwise, the initial pleading.

         3.      No other defendants are named in this action.

         4.      No further proceedings have been had in the Circuit Court of Klamath County as

of the date of filing of this removal.

B.       Diversity Jurisdiction Exists

         1.      This is a civil action over which this Court has original jurisdiction pursuant to

28 U.S.C. §1332. This action may be removed pursuant to 28 U.S.C. §1441 because the action

involves a controversy between citizens of different states; the defendant is not a citizen of the

state of Oregon; and the amount in controversy exceeds $75,000, exclusive of interest and

costs.

         2.      Plaintiff Burger is/was, at the time he filed his complaint, a citizen and resident

of the state of Oregon. (Amended Complaint, ¶1).

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        3.       Defendant Estes Express Lines is/was, at the time the plaintiff filed his

complaint, a California corporation authorized to do business in the State of Oregon.

(Amended Complaint, ¶2).

        4.       Defendant John Doe is an individual not yet named. (Amended Complaint ¶2).

        4.       Plaintiff alleges money damages of more than $75,000, exclusive of interest and

costs. (Amended Complaint, ¶11).

C.      Removal to this District is proper.

        1.       Pursuant to 28 U.S.C. §§1332, 1441 and 1446, removal of the above-captioned

state court action to this court is appropriate.

        2.       Pursuant to 28 U.S.C. §1441(a), removal is made to this Court as the district and

division embracing the place where the state action is pending.

        3.       The defendant is providing to the plaintiff through its lawyer, written notice of

the filing of this Notice of Removal. Furthermore, the defendant is filing a copy of this Notice

of Removal with the Clerk of the Circuit Court of Klamath County, Oregon, where the action is

currently pending.

        DATED this 11th day of February, 2022.

                                               WILLIAMS KASTNER

                                               By /s/ Heidi L. Mandt
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                                                 Email:      hmandt@williamskastner.com
                                                 Attorneys for Defendant Estes Express Lines




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                              CERTIFICATE OF SERVICE

        I certify that I served the foregoing NOTICE OF REMOVAL on the following

attorneys on the 11th day of February 2022 by the methods indicated below:

  Attorneys for Plaintiff:                                Via First Class Mail
                                                          Via Federal Express
  Dipendra Rana                                           Via Facsimile
  Ryan M. Lee                                             Via Hand-Delivery
  Wiles Michali Rana Lee Law Group                       Via E-Mail
  3939 NE Hancock Street, Suite 117                      Via the court’s Efiling system at the
  Portland, OR 97212                            party’s email address as recorded on the date
  Email: drana@wileslawgroup.com                of service in the Efiling system.
          rmlee@wileslawgroup.com


                                               /s/ Heidi L. Mandt
                                               Heidi L. Mandt, OSB #953459
                                               Attorneys for Defendant Estes Express Lines.




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